Case 23-11069-CTG   Doc 789-3   Filed 10/07/23   Page 1 of 3




                    EXHIBIT B
                Case 23-11069-CTG             Doc 789-3        Filed 10/07/23        Page 2 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                           ) Chapter 11
                                 )
YELLOW CORPORATION, et al.1      ) Case No. 23-11069 (CTG)
                                 )
            Debtors.             ) (Jointly Administered)
                                 )
                                 ) Re: ___________
                                 )
_________________________________)

  [PROPOSED] ORDER PARTIALLY GRANTING MOTION OF ANTHONY
MARTINO AND GRANTING LIMITED INTERIM RELIEF FROM THE AUTOMATIC
                             STAY


            AND NOW THIS _________ day of _______________ 2023, upon consideration of the

    Motion Of Anthony Martino For Orders Granting Relief From The Automatic Stay (the

    “Motion”), the Court having determined that good and adequate cause exists for approval of the

    Motion, and the Court having determined that no further notice of the Motion is necessary,

            IT IS ORDERED:

          1.      That the Motion is GRANTED in part as set forth herein; and

          2.      The automatic stay of 11 U.S.C. § 362(a) of the Bankruptcy Code is immediately

modified to allow Movant and the parties to the Illinois Federal Action to refile pleadings related

to the parties’ competing motions for summary judgment and to allow the Illinois District Court

to rule on the parties’ competing summary judgment motions; and

          3.      This Order does not fully resolve the Motion and does not waive the Primary

Relief sought therein; and

1
        A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of
Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe
Avenue, Overland Park, Kansas 66211.


                                                         1
             Case 23-11069-CTG         Doc 789-3      Filed 10/07/23    Page 3 of 3




       4.      This Order does not prevent Movant from seeking further relief from the

automatic stay in connection with the Illinois Federal Action or otherwise.

       5.      The fourteen day stay period imposed by Federal Rule of Bankruptcy Procedure

4001(a)(3) is waived with respect to the relief granted herein.

       6.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation and enforcement of this Order.




                                                 2
